Case 17-64941-sms        Doc 73    Filed 09/17/21 Entered 09/17/21 11:57:33           Desc Main
                                   Document     Page 1 of 9



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                          :           CASE NO. 17-64941-SMS
                                                :
ROGER CARROLL BURGESS,                          :           CHAPTER 7
                                                :
         Debtor.                                :
                                                :



                   TRUSTEE’S APPLICATION FOR FINAL COMPENSATION
                         OF SPECIAL COUNSEL AND REQUEST
                     FOR AUTHORIZATION TO PAY COMPENSATION

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate (the

“Bankruptcy Estate”) of Roger Carroll Burgess (“Debtor”), by and through undersigned counsel,

and files Trustee’s Application for Final Compensation of Special Counsel and Request for

Authorization to Pay Compensation and Reimbursement of Expenses (the “Application”) seeking

allowance of final compensation of $46,212.38 (or 40% of the gross settlement amount of

$115,530.95) and reimbursement of expenses in the amount of $5,335.99, and respectfully shows this

Court the following:

                                    Jurisdiction and Venue

       1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper pursuant to

28 U.S.C. §§ 1408 and 1409(a).




17068806v1
Case 17-64941-sms         Doc 73    Filed 09/17/21 Entered 09/17/21 11:57:33               Desc Main
                                    Document     Page 2 of 9



                                            Background

                                       a. General Background

       1.    On August 28, 2017 (“Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code, and initiated Case No. 17-64941-SMS (the

“Bankruptcy Case”).

       2.    Trustee was thereafter appointed and remained the duly acting Chapter 7 trustee in this

Case. On September 22, 2017, the Case was dismissed for Debtor’s failure to pay filing fee. [Doc.

No. 12]. On October 6, 2017, the Court entered an Order vacating the dismissal and extending the

deadline to object to discharge and dischargeability. [Doc. No. 18].

       3.    On August 2, 2018, the Court entered an order discharging Debtor and closing the

Bankruptcy Estate. [Doc. No. 39].

       4.    On January 20, 2021, Nancy J. Gargula, the then acting United States Trustee for

Region 21, filed a Motion to Reopen after the Trustee was contacted by an attorney representing

the Debtor in a product liability case (the “Litigation”) and regarding a proposed settlement and a

proposed net payment to the Debtor (the “Settlement”) regarding a pre-petition product liability

claim (the “Claim”). On January 21, 2021, the Court granted the Motion to Reopen the Case.

[Doc. No. 42].

       5.    Trustee was thereafter reappointed the Chapter 7 trustee in the Case. [Doc. No. 49].

       6.    Trustee has investigated the Claims related to the Litigation and the proposed Settlement.

       7.    On February 25, 2021, Trustee filed his Application to Appoint Attorney for Trustee

[Doc. No. 60], and the Court entered an Order [Doc. No. 62] on February 26, 2021 appointing

Arnall Golden Gregory LLP as attorneys for Trustee.

       8.    The deadline to file proofs of claim in this Case was May 5, 2021. [Doc. No. 54].




17068806v1
Case 17-64941-sms        Doc 73    Filed 09/17/21 Entered 09/17/21 11:57:33             Desc Main
                                   Document     Page 3 of 9



                                            b. The Claim

       9.    At the commencement of the Bankruptcy Case, a bankruptcy estate was created for

under 11 U.S.C. § 541(a) (collectively, the “Bankruptcy Estate”), and that Bankruptcy Estate

includes all Debtor’s legal or equitable interests in property as of the commencement of the

Bankruptcy Case and any interest in property acquired after commencement of the case. 11 U.S.C.

§ 541(a)(1) and (7) (2017).

       10.   The Claim is property of the Bankruptcy Estate.

       11.   On May 13, 2021, Trustee filed Trustee’s Motion for Appointment of Special Counsel

[Doc. No. 68], and the Court entered an Order [Doc. No. 69] on May 14, 2021, authorizing the

retention of Matthews & Associates; Freese & Goss; and J. Shafer Law (collectively, “Special

Counsel”) as special counsel for Trustee.

                                  c. Debtor’s Allowed Exemption

       12.   On April 8, 2021, the Court entered an order allowed Debtor a claimed exemption in

the Claim in the amount of $21,160 (the “Exemption”). [Doc. No. 66].

                       d. The Proposed Settlement and Fees and Expenses

       13.   Following negotiations, and subject to the approval of this Court, the Claim has been

settled (the “Settlement”).

       14.   An offer has been made to settle the Claim for a total gross settlement amount of

$115,530.95 ("Gross Settlement Amount").

       15.   The aggregate settlement funds are currently held in a settlement trust, which includes

the funds of the Claim. The trust has been approved as a Qualified Settlement Fund (“QSF”) by

the settlement court, which retains continuing jurisdiction over the QSF, including all payments

from the settlement trust. The Trustee of the QSF (the “Settlement Fund Trustee”) has been




17068806v1
Case 17-64941-sms            Doc 73      Filed 09/17/21 Entered 09/17/21 11:57:33                    Desc Main
                                         Document     Page 4 of 9



approved to oversee the distribution of funds from the QSF and all payments from the QSF shall

be made by the Settlement Fund Trustee.

       16.    In accordance with the terms of the Settlement Agreement, a portion of the Settlement

Award will be used to satisfy all medical claims related to or arising from the Incident. Pending

the Court’s approval, the holders of these claims have agreed to certain reductions in the amounts

owed to satisfy their claims or demands related to or arising from the Claim. These reductions are

set forth in the settlement statement attached hereto and incorporated herein by reference as Exhibit

“A” (the “Settlement Statement”). Certain fees, costs and expenses under the settlement must be

paid and/or withheld by the Settlement Fund Trustee and paid to the appropriate recipients. If

awarded by the Court,1 Special Counsel will be paid fees in the amount of $46,212.38 (or 40% of

the gross settlement amount of $115,530.95, less costs) and reimbursement of expenses in the

amount of $5,335.99. If approved by the Court, the Medical Lien Holders will be paid a total of

$9,409.78. If approved by the Court, the administrative expenses will be paid in the amount of

$11,112.54 pursuant to the court-ordered QSF administration.2 Upon the terms of the settlement

being satisfied, and the fees, costs and expenses set forth above being paid by the Settlement Fund

Trustee, the net remaining balance of the settlement proceeds, in the anticipated amount of

$48,796.25 (the “Net Proceeds”), shall be authorized to be distributed by the Settlement Fund

Trustee to Trustee.




1
         Herein, Trustee is seeking the approval of Special Counsel’s Fees.
2
       These expenses are further explained in the Settlement Statement attached to the settlement motion (filed
contemporaneously with this application) as Exhibit “A”.



17068806v1
Case 17-64941-sms           Doc 73      Filed 09/17/21 Entered 09/17/21 11:57:33                    Desc Main
                                        Document     Page 5 of 9



       17.    As a result, and after payment of Debtor’s allowed Exemption, the Bankruptcy Estate

will have available for distribution under 11 U.S.C. § 726 the remaining $27,636.25, calculated as

follows:

                                      Gross Settlement               $115,530.95

                              Satisfaction of Medical Liens            $9,409.78
                                   Costs and Expenses                 $11,112.54
                             Special Counsel Attorney’s Fees          $46,212.38
                                   Debtor’s Exemption                 $21,160.00

                                        Net to Estate                 $27,636.25


                                  Relief Requested and Basis for Same

       18.    Trustee requests an order from the Court approving as a final fee award the fees and

reimbursement of the expenses of Special Counsel in the amounts of $46,212.38 and $5,335.99,3

respectively, and authorizing Trustee to pay the same through the Settlement Fund Trustee.

       19.    A portion of the fees awarded will be paid to a plaintiff steering committee, as ordered

by the United States District Court.

       20.    Trustee respectfully shows that the final compensation requested by Special Counsel

satisfies the standards and guidelines set forth in Johnson v. Georgia Highway Express, 488 F.2d 714

(5th Cir. 1974), and In Re First Colonial Corporation, 544 F.2d 1291 (5th Cir. 1977), as amplified by

Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th Cir. 1988).




3
        The $5,335.99 in expenses are the sum total of case expenses of $1,140.74 and general expenses of
$4,195.25. The details for the case expenses are attached hereto as Exhibit “A.”


17068806v1
Case 17-64941-sms         Doc 73    Filed 09/17/21 Entered 09/17/21 11:57:33          Desc Main
                                    Document     Page 6 of 9



         WHEREFORE, Trustee requests that this Court grant the Application and approve the

compensation of Special Counsel in the amount of $46,212.38 as full and final compensation for

representation in and litigating the Claim and expenses in the amount of $5,335.99.

         Respectfully submitted this 17th day of September, 2021.

                                              ARNALL GOLDEN GREGORY LLP
                                              Attorneys for Trustee

                                              By:/s/ Michael J. Bargar
                                                 Michael J. Bargar
                                                 Ga. Bar No. 645709
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17068806v1
Case 17-64941-sms   Doc 73   Filed 09/17/21 Entered 09/17/21 11:57:33   Desc Main
                             Document     Page 7 of 9




                             EXHIBIT “A” FOLLOWS




17068806v1
     Case 17-64941-sms          Doc 73   Filed 09/17/21 Entered 09/17/21 11:57:33                                   Desc Main
                                         Document     Page 8 of 9

Burgess, Mr.
                 307776   LWT                                                           Totals
Roger (307776)
                                         1,140.74

                                                                                        USDC, Northern
581374           307776   11/30/2015       400.00 FILING FEE   Filing Fees with Court                          25OLFJ31
                                                                                        District of Illinois


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879255           307776   7/20/2020          2.20 GENERAL      postage, copies,       Pacer Service Center
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                                                               telephone


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522174           307776   6/11/2014          0.48 GENERAL      postage, copies,       U.S. Postmaster          POSTAGE DETAIL
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                                                                                                               '94055102008829095358
                                                               postage and other
                                                                                                               47' - Priority Mail Flat
638620           307776   2/8/2016           5.60 POSTAGE      shipping fees -          Endicia
                                                                                                               Rate Envelope; Delivery
                                                               reimbursable
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                                                               postage and other
                                                                                                               59' - Priority Mail Flat
638619           307776   2/8/2016           5.60 POSTAGE      shipping fees -          Endicia
                                                                                                               Rate Envelope; Delivery
                                                               reimbursable
                                                                                                               Confirmation


                                                               Medical-Billing Records Rapid Records           *106097* East Paulding
546687           307776   10/9/2014        285.50 RECORDS
                                                               (Taxable Cost)          Retrieval, L.L.C.       Primary Care


                                                               Medical-Billing Records Rapid Records           *103953* WellStar
531369           307776   7/10/2014        213.50 RECORDS
                                                               (Taxable Cost)          Retrieval, L.L.C.       Kennestone Hospital


                                                               Medical-Billing Records Rapid Records           *103513* Rite Aid
530936           307776   6/24/2014        227.86 RECORDS
                                                               (Taxable Cost)          Retrieval, L.L.C.       Corporation
Case 17-64941-sms         Doc 73    Filed 09/17/21 Entered 09/17/21 11:57:33           Desc Main
                                    Document     Page 9 of 9




                                   CERTIFICATE OF SERVICE

         This is to certify that I have this day served copy of the Trustee’s Application for Final

Compensation of Special Counsel and Request for Authorization to Pay Compensation and

Reimbursement of Expenses by depositing in the United States mail a copy of same in a properly

addressed envelope with adequate postage affixed thereon to assure delivery to:

Office of the United States Trustee
362 United States Courthouse
75 Ted Turner Drive, S.W.
Atlanta, GA 30303

S. Gregory Hays
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J.Shafer Law
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         This 17th day of September, 2021.

                                                     /s/ Michael J. Bargar
                                                     Michael J. Bargar
                                                     Georgia Bar No. 645709




17068806v1
